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  10   his official capacity as Attorney General of
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       the Department of Justice Bureau of
  12   Firearms
  13                     IN THE UNITED STATES DISTRICT COURT
  14                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  15
  16
  17
       JAMES MILLER, et al.,                         19-cv-1537 BEN-JLB
  18
                                       Plaintiffs,
  19
                                 v. DECLARATION OF PROFESSOR
  20                                LOUIS KLAREVAS IN SUPPORT
                                    OF DEFENDANTS’ OPPOSITION
  21   CALIFORNIA ATTORNEY          TO MOTION FOR PRELIMINARY
       GENERAL XAVIER BECERRA, et   INJUNCTION
  22   al.,
  23                                 Defendants.
  24
  25
  26
  27
  28


                     Declaration of Professor Louis Klarevas (19-cv-1537-BEN-JLB)
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   1                DECLARATION OF PROFESSOR LOUIS KLAREVAS
   2
   3   I, Louis Klarevas, declare:
   4           1.     I make this Declaration in support of defendants’ opposition to
   5   plaintiffs’ motion for a preliminary injunction. This Declaration is based on my
   6   own personal knowledge and experience, and if I am called as a witness, I could
   7   and would testify competently to the truth of the matters discussed in this
   8   Declaration.
   9
  10   I.      QUALIFICATIONS AND BACKGROUND
  11
  12           2.     I am a security policy analyst and, currently, Research Professor at
  13   Teachers College, Columbia University, in New York. I am also the author of the
  14   book Rampage Nation, one of the most comprehensive studies on gun massacres in
  15   the United States.1
  16           3.     I am a political scientist by training, with a B.A. from the University of
  17   Pennsylvania and a Ph.D. from American University. My current research
  18   examines the nexus between American public safety and gun violence.
  19           4.     During the course of my 20-year career as an academic, I have served
  20   on the faculties of the George Washington University, the City University of New
  21   York, New York University, and the University of Massachusetts. I have also
  22   served as a Defense Analysis Research Fellow at the London School of Economics
  23   and Political Science and as United States Senior Fulbright Scholar in Security
  24   Studies at the University of Macedonia.
  25           5.     In addition to having made well over 100 media and public-speaking
  26   appearances, I am the author or co-author of more than 20 scholarly articles and
  27
       1
  28       Louis Klarevas, Rampage Nation: Securing America from Mass Shootings (2016).
                                                    1
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   1   over 70 commentary pieces. My most recent project—a peer-reviewed article
   2   published in the American Journal of Public Health—assessed the effectiveness of
   3   restrictions on large-capacity magazines (ammunition-feeding devices holding more
   4   than 10 rounds of ammunition) in reducing gun massacres.2
   5         6.     Besides the present case, I have been previously retained by the
   6   California Attorney General’s Office in Duncan v. Becerra, Case No. 17-cv-1017-
   7   BEN-JLB, Southern District of California, and Wiese v. Becerra, Case No. 2:17-cv-
   8   00903-WBS-KJN, Eastern District of California. Duncan and Wiese both involve
   9   challenges to California’s regulation of large-capacity magazines. In 2017, I served
  10   as an expert for the State of Colorado, as it defended a legal challenge to its
  11   restrictions on large-capacity magazines in Rocky Mountain Gun Owners, et al. v.
  12   Hickenlooper, Case Number 2013CV33879, District Court, City and County of
  13   Denver, Colorado. While I was never deposed in Wiese, I was deposed in Duncan
  14   and Rocky Mountain Gun Owners. I also testified in court in Rocky Mountain Gun
  15   Owners. These are the only times that I have testified or been deposed in legal
  16   proceedings in the past five years.
  17         7.     A more detailed list of my credentials and professional experiences
  18   can be found in my curriculum vitae (see Exhibit 1).
  19
  20
  21
  22
  23
  24
  25
       2
  26    Louis Klarevas, et al., The Effect of Large-Capacity Magazine Bans on High-
       Fatality Mass Shootings, 109 Am. J. of Pub. Health 1754 (2019), available at
  27   https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2019.305311 (last
  28   accessed January 6, 2020).
                                                  2
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   1   II.   OPINIONS
   2
   3         8.       It is my professional opinion, based upon my extensive review and
   4   analysis of data from the past four decades, that (1) gun massacres involving six or
   5   more fatalities presently pose the deadliest criminal threat, in terms of individual
   6   acts of intentional violence, to the safety and security of American society in the
   7   post-9/11 era, and the problem is growing nationwide; (2) gun massacres involving
   8   assault weapons, on average, have resulted in a substantially larger loss of life than
   9   similar incidents that did not involve assault weapons; and (3) jurisdictions that
  10   restrict the possession of assault weapons experience fewer gun massacres, per
  11   capita, than jurisdictions that do not restrict assault weapons. Based on these
  12   findings, it is my opinion that restrictions on assault weapons have the potential to
  13   significantly reduce the frequency and lethality of gun massacres (see Exhibit 2 for
  14   a tabular overview of how gun massacres are definitionally a subset of mass
  15   shootings).3
  16
  17   A.    Gun Massacres Are a Growing Threat to Public Safety
  18
  19         9.       In 1984, a gunman armed with, among other firearms, an Uzi assault
  20   weapon walked into a restaurant in San Ysidro, California, and murdered 21 people
  21   and injured 19 others, making it the deadliest mass shooting in American history at
  22   3
         In my book Rampage Nation, I defined a mass shooting as “any violent attack that
  23   results in four or more individuals incurring gunshot wounds.” I then differentiated
  24   between three different categories of mass shooting: (1) Nonfatal are those mass
       shootings in which no one dies; (2) Fatal are those mass shootings in which at least
  25   one victim dies; and (3) High-Fatality are those mass shootings in which six or
  26   more victims die. Throughout my book and in this Declaration, I use the terms
       “high-fatality mass shooting” and “gun massacre” interchangeably. Of the three
  27   categories of mass shooting, gun massacres are the deadliest, resulting in the
  28   highest fatality tolls per individual incidents. Klarevas, supra note 1, at 47-48.
                                                   3
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   1   the time. In the years since, the United States has experienced several deadlier
   2   shootings: 27 people killed, including 20 first-graders, in Newtown, Connecticut, in
   3   2012; 49 people killed in Orlando, Florida, in 2016; and 58 people killed in Las
   4   Vegas, Nevada, in 2017. All of these gun massacres were perpetrated with assault
   5   weapons (see Exhibit 3 for details on how gun massacres involving assault weapons
   6   have been coded for purposes of this Declaration).
   7           10.   Since the coordinated attack by terrorists on September 11, 2001, gun
   8   massacres—like the Newtown, Orlando, and Las Vegas shootings—have been the
   9   deadliest individual acts of violence in the United States. In fact, the ten deadliest
  10   acts of intentional violence since 9/11 have all been gun massacres (see Table 1).
  11   In terms of the number of victims-per-incident, mass shootings are presently the
  12   most lethal criminal threat to the security and safety of American society.4
  13
  14   Table 1. The 10 Deadliest Acts of Intentional Violence in the U.S. since 9/11
  15                                                                      Involved Assault
           Deaths        Date                    Location                    Weapon(s)
  16        58     October 1, 2017            Las Vegas, NV                      ✓
            49      June 12, 2016              Orlando, FL                       ✓
  17        32      April 16, 2007           Blacksburg, VA
            27    December 14, 2012           Newtown, CT                           ✓
  18        25    November 5, 2017        Sutherland Springs, TX                    ✓
            22     August 3, 2019              El Paso, TX                          ✓
  19        17    February 14, 2018            Parkland, FL                         ✓
            14    December 2, 2015         San Bernardino, CA                       ✓
  20        13      April 3, 2009            Binghamton, NY
            13    November 5, 2009            Fort Hood, TX
  21
  22
  23           11.   Since 1980, there have been a total of 103 gun massacres (high-fatality
  24   mass shootings resulting in six or more victims being shot to death), claiming a
  25   combined 1,007 lives (see Exhibit 3). The data show that the past decade
  26   4
        Unless stated otherwise, all of the data used to perform original analyses and to
  27   construct tables and figures in this Declaration are drawn from the list of all gun
  28   massacres since 1980 in Exhibit 3.
                                                  4
                     Declaration of Professor Louis Klarevas (19-cv-1537-BEN-JLB)
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   1   (2010-2019) has been the worst on record, accounting for over one-third of all gun-
   2   massacre incidents from the past four decades (37 out of 103) and over 45% of all
   3   deaths lost in such high-fatality mass shootings (457 out of 1,007). In other words,
   4   mass shootings pose a grave threat to the United States, and the threat is growing
   5   (see Figures 1 and 2).
   6
   7   Figure 1. Gun-Massacre Incidents by Decade, 1980-2019
   8    40                                                                           37
        35
   9
        30          26                                       26
  10    25
        20
  11                                     14
        15
  12    10
         5
  13
         0
                   1980s               1990s                2000s                   2010s
  14
  15
  16   Figure 2. Gun-Massacre Deaths by Decade, 1980-2019
  17    500                                                                         457
  18    450
        400
  19    350
        300
  20
        250         209                                      217
  21    200
        150                              124
  22    100
  23     50
          0
  24                1980s               1990s               2000s               2010s

  25
  26
  27
  28
                                                  5
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   1   B.        The Use of Assault Weapons Is a Major Factor in the Rise of Gun-
   2             Massacre Violence
   3
   4             12.    A review of the data from the past 40 years indicates that gun
   5   massacres have grown in terms of frequency and lethality. The data also point to
   6   another striking pattern: the use of assault weapons in the commission of gun
   7   massacres has risen in vast proportions (see Figures 3 and 4).
   8
   9   Figure 3. Assault Weapon Gun-Massacre Incidents by Decade, 1980-2019
  10    14                                                                              13
  11    12

  12    10

  13     8                                                       7

         6              5
  14
         4                                   3
  15
         2
  16
         0
  17                   1980s               1990s                2000s               2010s

  18
  19   Figure 4. Assault Weapon Gun-Massacre Deaths by Decade, 1980-2019
  20    300
                                                                                        267
  21    250

  22    200

  23    150

  24    100
                         54                                       50
  25     50                                  28
  26
             0
                        1980s               1990s               2000s                   2010s
  27
  28
                                                      6
                         Declaration of Professor Louis Klarevas (19-cv-1537-BEN-JLB)
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   1           13.          A comparison of the 1980s with the most recent decade shows that the
   2   proportion of gun massacres involving assault weapons has increased significantly.
   3   During the 1980s, less than 20% of all gun massacres involved assault weapons
   4   (5 out of 26 incidents). In the 2010s, 35% of all gun massacres involved assault
   5   weapons (13 out of 37 incidents). The resort to assault weapons has been growing
   6   over the past 40 years. It is particularly marked of late, with 67% of all gun
   7   massacres in the last three years perpetrated with an assault weapon (see Figure 5).
   8
   9   Figure 5. Percentage of Gun-Massacre Incidents Involving Assault Weapons
  10
         Last 3 Years                                                                      67
  11
         Last 5 Years                                                   48
  12
  13    Last 10 Years                                         35

  14    Last 20 Years                                    32

  15
        Last 40 Years                              27
  16
                        0         10       20       30             40   50      60         70   80
  17
  18
  19           14.          Even more pronounced, the proportion of deaths attributable to gun
  20   massacres involving assault weapons has more than doubled between the same two
  21   10-year periods, from 26% to 58% (54 out of 209 deaths during the 1980s
  22   compared to 267 out of 457 deaths during the 2010s). Indeed, deaths attributable to
  23   gun massacres involving assault weapons have risen steadily in the past four
  24   decades, with the percentage in the last three years reaching 79% (see Figure 6).
  25
  26
  27
  28
                                                          7
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   1   Figure 6. Percentage of Gun-Massacre Deaths Involving Assault Weapons
   2
   3     Last 3 Years                                                                                                           79

   4     Last 5 Years                                                                                            69
   5
        Last 10 Years                                                                              58
   6
        Last 20 Years                                                               47
   7
   8    Last 40 Years                                                         40

   9                    0         10           20           30           40          50        60               70          80

  10
  11
                15.         It is also worth noting that the 13 gun massacres involving assault
  12
       weapons from the past decade account for 46% of all 28 gun massacres involving
  13
       assault weapons since 1980, and the 267 deaths attributable to these 13 incidents
  14
       account for 67% of all 399 deaths resulting from gun massacres involving assault
  15
       weapons since 1980. This reflects a growing preference for using assault weapons
  16
       to commit high-fatality mass shootings (see Figure 7).
  17
  18   Figure 7. Gun-Massacre Incidents and Deaths Involving Assault Weapons per
                 Decade as a Percentage of All Gun-Massacre Incidents and Deaths
  19
                 Involving Assault Weapons, 1980-2019
  20                    Figure 7a. Incidents                                         Figure 7b. Deaths
  21                                                                                                        1980s
                                               1980s
                                                                                                             14%
                                                18%
  22                                                                                                                    1990s
                                                                                                                         7%
        2010s                                               1990s
  23     46%                                                 11%
                                                                                                                           2000s
  24                                                                                                                        12%
                                                                        2010s
  25                                                                     67%
                                                    2000s
  26                                                 25%

  27                1980s      1990s   2000s    2010s                              1980s   1990s        2000s   2010s

  28
                                                                    8
                            Declaration of Professor Louis Klarevas (19-cv-1537-BEN-JLB)
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    1         16.    The growing use of assault weapons to carry out gun massacres is a
    2   clear theme reflected in the data. The disproportionate resort to assault weapons by
    3   perpetrators of high-fatality mass shootings is another obvious theme. According to
    4   the Declaration of James Curcuruto of the National Sport Shooting Foundation
    5   (NSSF) in the present case, as of December 2019, “modern sporting rifles” made up
    6   approximately 4% of all firearms in circulation in American society (17.7 million
    7   out of 423 million firearms).5 If assault weapons were used in proportion to the
    8   percentage of modern sporting rifles in circulation, approximately 4% of all gun
    9   massacres would involve assault weapons. Yet, in 2019 (the year corresponding to
  10    NSSF’s survey data), 75% of all gun massacres were committed with assault rifles
  11    (see Exhibit 3), far outpacing their relative prevalence in society.
  12          17.    Of the 103 gun massacres since 1980, 28 involved assault weapons,
  13    resulting in a cumulative 399 deaths (see Exhibit 3). The average death toll for
  14    these 28 gun massacres involving assault weapons is 14.3 fatalities per shooting
  15    (see Table 2). By contrast, the average death toll for the 75 incidents in which
  16    assault weapons were not used is 8.1 fatalities per shooting. In other words, the use
  17    of assault weapons in gun massacres resulted in a 77% increase in fatalities per
  18    incident. In the past decade, the difference is even more pronounced—far more
  19    than double: 7.9 versus 20.5 deaths per incident (see Table 2). This amounts to a
  20    159% increase in the average death toll, attributed to the use of assault weapons.
  21    Moreover, since 1980, assault weapons have been used in 80% of all gun massacres
  22    with 25 or more deaths—establishing a relationship between assault weapons and
  23    the deadliest gun massacres. The data demonstrate that assault weapons are
  24    dangerous force multipliers when used to perpetrate high-fatality mass shootings.
  25
  26    5
         Declaration of James Curcuruto in Support of Plaintiffs’ Motion for Preliminary
  27    Injunction, Miller v. Becerra (S.D. Cal. Dec. 6, 2019), No. 19-cv-1537-BEN-JLB,
  28    Doc. 22-13, para. 15.
                                                   9
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    1   Table 2. The Dangerous Death Tolls Associated with the Use of Assault Weapons
    2            in Gun Massacres

    3                Average Death Toll        Average Death Toll         Percent of Increase
    4                for Gun Massacres         for Gun Massacres          in Average Death
                     That Did Not Involve      That Did Involve the       Toll Associated
    5                the Use of Assault        Use of Assault             with the Use of
    6                Weapons                   Weapons                    Assault Weapons
    7   1980-2019           8.1 Deaths                  14.3 Deaths                  77%

    8   2010-2019           7.9 Deaths                  20.5 Deaths                  159%

    9
  10
        C.   Restrictions on Assault Weapons Reduce the Incidence of Gun Massacres,
  11
             Resulting in Lives Saved
  12
  13
             18.     In light of the growing threat posed by mass shootings, legislatures
  14
        have enacted measures aimed at reducing the occurrence and lethality of such
  15
        deadly acts of firearm violence. Prominent among these measures are restrictions
  16
        on assault weapons. In 1989, California became the first state to enact an assault
  17
        weapons ban. The Roberti-Roos Assault Weapons Control Act (AWCA) was
  18
        passed by the California legislature in 1989 in response to an attack on Cleveland
  19
        Elementary School in Stockton earlier that year. The gunman in this mass shooting
  20
        used an AK-47 to kill five children and wound another 30 individuals, 29 of whom
  21
        were children. In the process of enacting the AWCA, the legislature codified its
  22
        findings and intent (at Cal. Penal Code § 30505(a)):
  23
  24
              The Legislature hereby finds and declares that the proliferation and use of
  25
              assault weapons poses a threat to the health, safety, and security of all
  26          citizens of the state. The Legislature has restricted the assault weapons
              specified in [California’s statutes] based upon finding that each firearm has
  27
              such a high rate of fire and capacity for firepower that its function as a
  28
                                                   10
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    1           legitimate sports or recreational firearm is substantially outweighed by the
    2           danger that it can be used to kill and injure human beings.

    3
                19.    In the years since, the state legislature has revised the law to make it
    4
        more effective. In the deliberations over SB 880 in 2016, which was ultimately
    5
        enacted to close the so-called “bullet button” loophole, the author of that bill stated:
    6
    7           [Assault weapons] are designed only to facilitate the maximum destruction of
    8           human life. Such weapons have been used in a number of recent gun attacks,
                including the recent terrorist attack in San Bernardino that left 14
    9           Californians dead and 21 injured. Too many Californians have died at the
  10            hands of these dangerous weapons.6
  11
                20.    In considering SB 880, the Assembly Committee on Public Safety
  12
        noted that the assault weapon is considered “an effective tool of mass murder.”7
  13
  14    This sentiment was echoed in the Senate Committee on Public Safety, which, in its

  15    report on SB 880, reproduced the following rationale in support of the bill:

  16            The rapid and controlled spray of bullets associated with assault weapons is a
  17            threat to police officers, families, and communities. As was shown by the
                tragedy at Sandy Hook School and more recently in San Bernardino, an
  18            assault weapon escalates the lethality and number of victims in a mass
  19            shooting incident.8

  20
  21
        6
  22     Report of the Assembly Committee on Public Safety on SB 880 (Hall), May 17,
        2016, available at
  23
        https://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill_id=201520160
  24    SB880 (last accessed January 10, 2020).
        7
  25        Id. (emphasis added).
        8
  26     Report of the Senate Committee on Public Safety on SB 880 (Hall), March 28,
        2016, available at
  27    https://leginfo.legislature.ca.gov/faces/billAnalysisClient.xhtml?bill_id=201520160
  28    SB880 (last accessed January 10, 2020) (emphasis added).
                                                     11
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    1         21.    The legislative intent of California is not significantly different from
    2   that of the other states that have since restricted assault weapons. The primary
    3   objective of every assault weapons ban is reducing the frequency and lethality of
    4   mass shootings. Because, on average, the use of assault weapons results in higher
    5   death tolls in mass shootings, the rationale for imposing tight restrictions on assault
    6   weapons is to reduce the loss of life attributable to the increased kill potential of
    7   such dangerous firearms.
    8         22.    In 1994, the United States enacted the Federal Assault Weapons Ban
    9   (AWB). Pub. L. No. 103-322, tit. XI, subtit. A, 108 Stat. 1796, 1996-2010
  10    (codified as former 18 U.S.C. § 922(v), (w)(1) (1994)). Modelled after California’s
  11    AWCA, the federal AWB was also aimed primarily at reducing mass-shooting
  12    violence. The law, which was in effect for only 10 years before sun-setting,
  13    regulated certain firearms and their components. Among its provisions, the AWB
  14    prohibited the manufacture, sale, transfer, or possession of new assault weapons.9
  15          23.    The AWB had a positive impact in reducing the number and
  16    deadliness of gun massacres (see Exhibit 4). Comparing the 10-year periods
  17    before, during, and after the AWB shows that the implementation of the law
  18    coincided with a 37% drop in gun massacres and a 40% drop in gun massacres
  19    involving assault weapons (see Table 3). Likewise, when compared to the 10-year
  20    period immediately prior to the AWB, the 10-year period that the AWB was in
  21    effect reflected a 43% decline in gun-massacre deaths and a 26% decline in deaths
  22    resulting from gun massacres involving assault weapons (see Table 3). When the
  23    AWB expired, the 10-year period that immediately followed experienced
  24    substantially greater gun-massacre violence. In particular, when compared to the
  25
  26    9
         Assault weapons lawfully in circulation prior to the AWB’s date of effect
  27    (September 13, 1994) were exempted (i.e., grandfathered) from the ban. Former
  28    18 U.S.C. § 922 (v)(2) (1994).
                                                   12
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    1   10-year period that the AWB was in effect, the succeeding 10-year period coincided
    2   with a 183% increase in gun-massacre incidents and a 167% increase in gun-
    3   massacre incidents involving assault weapons (see Table 3). Fatalities tracked a
    4   similar, albeit steeper, upward trajectory. The 10-year period immediately
    5   following the AWB coincided with a 239% increase in gun-massacre deaths and a
    6   223% increase in gun-massacre deaths resulting from incidents involving assault
    7   weapons (see Table 3).
    8         24.    Even when comparing incidence and fatality rates—which respectively
    9   measure the onset of new cases and deaths per population under examination—the
  10    pattern holds. The incidence and fatality rates for all gun massacres as well as only
  11    for gun massacres involving assault weapons all fell during the 10-year period of
  12    the AWB, only to skyrocket during the 10-year period that immediately followed
  13    the expiration of the ban (see Table 3). The data pertaining to gun massacres
  14    immediately before, during, and immediately after the AWB point to an obvious
  15    conclusion: the AWB ushered in a period marked by stark reductions in gun-
  16    massacre violence, which increased drastically following the ban’s end.
  17
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    1   Table 3. The Impact of the Federal Assault Weapons Ban on Gun Massacres
    2                   10-Years                 Percentage of   10-Years                Percentage of
                        Before      10-Years     Change from     During      10-Years    Change from
    3                   AWB         During AWB   Period Before   AWB         After AWB   Period During
                        (9/13/84-   (9/13/94-    to Period       (9/13/94-   (9/13/04-   to Period After
    4                   9/12/94)    9/12/04)     During AWB      9/12/04)    9/12/14)    AWB
        All Gun-
    5   Massacre             19         12           - 37%            12         34          +183%
        Incidents
    6   Gun-
        Massacre
    7   Incidents
                             5           3           -40%             3          8           +167%
        Involving
    8   Assault
        Weapons
    9   Deaths in All
        Gun-
                            155         89           -43%             89        302          +239%
        Massacre
  10    Incidents
        Deaths in
  11    Gun-
        Massacre
  12    Incidents            35         26           -26%             26         84          +223%
        Involving
  13    Assault
        Weapons
  14    Incidence
        Rate for All
  15    Gun-                0.76       0.43          -43%            0.43       1.11         +158%
        Massacre
  16    Incidents
        Incidence
  17    Rate for Gun-
        Massacre
  18    Incidents           0.20       0.11          -45%            0.11       0.26         +136%
        Involving
  19    Assault
        Weapons
  20    Fatality Rate
        for All Gun-
                            6.22       3.18          -49%            3.18       9.82         +209%
  21    Massacre
        Incidents
  22    Fatality Rate
        for Gun-
  23    Massacre
        Incidents           1.40       0.93          -34%            0.93       2.73         +194%
  24    Involving
        Assault
  25    Weapons

  26    Note: Incidence and fatality rates are calculated as annual rates per 100 million
  27    population, using mean population for each 10-year period under examination.

  28
                                                       14
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    1         25.    California’s AWCA took effect on January 1, 1990, making California
    2   the first state to regulate assault weapons, although the District of Columbia has
    3   been regulating semiautomatic firearms with enhanced firing capacity, including
    4   assault weapons, since 1932. Six other states and the District of Columbia have
    5   also prohibited the possession of certain assault weapons in an effort to reduce the
    6   loss of life in mass shootings. The following is a list of those jurisdictions and the
    7   effective dates of their bans: New Jersey (September 1, 1990); Hawaii (July 1,
    8   1992, assault pistols only); Connecticut (October 1, 1993); Maryland (June 1, 1994,
    9   initially assault pistols but expanded to long guns October 1, 2013); Massachusetts
  10    (July 23, 1998); New York (November 1, 2000); and the District of Columbia
  11    (updating its pre-existing regulations on March 31, 2009).10
  12          26.    In the field of epidemiology, a common method for assessing the
  13    impact of laws and policies is to measure the rate of onset of new cases of an event,
  14    comparing the rate when and where the laws and policies were in effect against the
  15    rate when and where the laws and policies were not in effect. This measure, known
  16    as the incidence rate, allows public health experts and criminologists to identify
  17    discernable differences, while accounting for variations in the population, over a set
  18    period of time. Relevant to the present case, calculating incidence rates across
  19    jurisdictions, in a manner that captures whether or not assault weapons bans were in
  20    effect during the period of observation, allows for the assessment of the
  21    effectiveness of such bans. In addition, fatality rates—the number of deaths, per
  22
  23
  24
  25    10
          For a review of state laws that regulate assault weapons, including the effective
  26    dates of each state assault weapons ban currently in effect in the United States, see
        Giffords Law Center to Prevent Gun Violence, “Assault Weapons,” available at
  27    https://lawcenter.giffords.org/gun-laws/policy-areas/hardware-ammunition/assault-
  28    weapons (last accessed January 10, 2020).
                                                   15
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    1   population, that result from particular events across different jurisdictions—also
    2   provide insights into the impact of assault weapons bans on gun massacres.11
    3         27.    Since January 1, 1990, when the first state ban on assault weapons
    4   took effect, there have been 77 gun massacres in the United States (see Exhibit 3).12
    5   Calculating gun-massacre rates for the time-period 1990-2019, across jurisdictions
    6   with and without bans on the possession of assault weapons, reveals that states that
    7   restricted possession of certain assault weapons experienced a 46% decrease in the
    8   incidence rate and a 57% decrease in the fatality rate for all gun massacres,
    9   regardless of the weaponry used by the mass murderers (see Table 4).13 When
  10    calculations go a step further and are limited to gun massacres involving assault
  11    weapons, the difference between the two jurisdictional categories (non-ban states
  12    and ban states) is even more pronounced. In the past 30 years, accounting for
  13    population, states with assault weapons bans in place experienced 54% fewer gun
  14    massacres involving the use of assault weapons and 67% fewer deaths resulting
  15    from such attacks perpetrated with assault weapons (see Table 4). All of the above
  16    epidemiological calculations lead to the same conclusion: when bans on assault
  17
  18
        11
          For purposes of this Declaration, incidence and fatality (i.e., mortality) rates are
  19    calculated in accordance with the methodological principles established by the
  20    Centers for Disease Control and Prevention. See Centers for Disease Control and
        Prevention, Principles of Epidemiology in Public Health Practice: An Introduction
  21    to Applied Epidemiology and Biostatistics (2012), available at
  22    https://stacks.cdc.gov/view/cdc/13178 (last accessed January 10, 2020).
        12
  23      There were no state bans on assault weapons in effect prior to 1990. Therefore,
        1990 is the logical starting point for an analysis of the impact of state assault
  24    weapons bans.
  25    13
          For purposes of coding, between September 13, 1994, and September 12, 2004,
  26    the federal AWB was in effect. During that 10-year period, all 50 states and the
        District of Columbia were under legal conditions that banned the possession of
  27    certain prohibited assault weapons. As such, the entire country is coded as being
  28    under an assault weapons ban during the timeframe that the AWB was in effect.
                                                   16
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    1   weapons are in effect, per capita, fewer gun massacres occur and fewer people die
    2   in such high-fatality mass shootings.
    3
    4   Table 4. Incidence and Fatality Rates for Gun Massacres, by Whether or Not
    5            Assault Weapons Bans Were in Effect, 1990-2019
                                                                                  Annual                Annual
    6                                                    Annual                   Incidents             Deaths per
                                                         Average                  per 100               100
    7                                                    Population   Total       Million      Total    Million
                                                         (Millions)   Incidents   Population   Deaths   Population
    8
         All Gun Massacres
    9    Non-AW Ban States                                 150.6         51         1.13         566      12.53
         AW Ban States                                     142.1         26         0.61         232       5.44
  10     Percentage Decrease in Rate for AW Ban States                              46%                   57%

  11     Gun Massacres Involving Assault Weapons
         Non-AW Ban States                                 150.6         16         0.35         263      5.82
  12     AW Ban States                                     142.1          7         0.16          82      1.92
         Percentage Decrease in Rate for AW Ban States                              54%                   67%
  13
        Note: Population data are from U.S. Census Bureau’s State Intercensal Datasets,
  14
        available at https://www.census.gov/data/datasets.All.html (last accessed January
  15    7, 2020).
  16
  17    D.      Response to Declaration of John Lott in Support of Plaintiffs’ Motion
  18            for Preliminary Injunction
  19
  20            28.     In support of their Motion for Preliminary Injunction, the Plaintiffs
  21    include a Declaration from John Lott. The overall conclusion of Lott’s Declaration
  22    is that “there is no credible evidence that so-called ‘assault weapons’ bans have any
  23    meaningful effect on reducing gun homicides and no discernable crime-reduction
  24    impact.”14 Lott has a long history of employing questionable and faulty practices to
  25    advance arguments against firearms regulations, resulting in accusations that his
  26
  27
        14
          Declaration of John Lott in Support of Plaintiffs’ Motion for Preliminary
        Injunction, Miller v. Becerra (S.D. Cal. Dec. 6, 2019), No. 19-cv-1537-BEN-JLB,
  28    Doc. 22-18, para. 63.
                                                             17
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    1   gun violence research is “junk science.”15 Lott’s Declaration in the present case
    2   suffers from similar problems.
    3         29.    The major arguments that Lott attempts to advance in his Declaration
    4   can be summed up as follows:
    5
    6         A.     Studies show that criminals do not acquire their firearms through legal
                     channels, meaning that bans on weapons generally will not influence
    7                criminals’ use of those prohibited weapons; and
    8
              B.     “All credible studies” have found that bans on assault weapons have
    9                not had any meaningful effect on crime, implying that bans on assault
  10                 weapons do not work.
  11
              30.    As discussed above, the legislative intent of bans on assault weapons is
  12
  13    primarily to reduce the frequency and lethality of massacres perpetrated with

  14    firearms, especially military-style firearms. With that in mind, it is noteworthy to

  15    identify what is conspicuously absent from Lott’s Declaration. In particular, Lott

  16    fails to mention how (1) legislatures enacting assault weapons bans are primarily

  17    targeting the use of military-style firearms to commit mass murder, as opposed to

  18    all gun violence in general; (2) the number of victims losing their lives in gun

  19    massacres nationwide, especially those involving assault weapons, has been on the

  20    rise since the expiration of the federal AWB in 2004; (3) the use of assault weapons

  21    in gun massacres has been disproportionately higher than the percentage of assault

  22    weapons in circulation; and (4) the use of assault weapons in gun massacres has

  23
  24
        15
          Evan DeFilippis & Devin Hughes, Shooting Down the Gun Lobby’s Favorite
        ‘Academic’: A Lott of Lies, Armed with Reason, December 1, 2014, available at
  25    http://www.armedwithreason.com/shooting-down-the-gun-lobbys-favorite-
        academic-a-lott-of-lies (last accessed on January 13, 2020); and Piers Morgan,
  26    Lawyer Alan Dershowitz on the Research of Author John Lott Jr.: ‘Junk Science …
        Paid for by the National Rifle Association’, CNN.com, July 24, 2012, available at
  27    http://piersmorgan.blogs.cnn.com/2012/07/24/lawyer-alan-dershowitz-on-the-
        research-of-author-john-lott-jr-junk-sciencepaid-for-by-the-national-rifle-
  28    association (last accessed January 13, 2020).
                                                   18
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    1   resulted in substantially higher average death tolls, when compared to incidents that
    2   do not involve assault weapons. As discussed above, there is an evidentiary basis
    3   for these four relevant factual patterns that Lott overlooks.
    4         31.    Nevertheless, the two major conclusions advanced by Lott in his
    5   Declaration (summarized above in para. 29) deserve a response. First, Lott asserts
    6   that “criminals do not buy their firearms legally.”16 He goes on to claim that
    7   “criminals have guns and they get them illegally, primarily from drug dealers….
    8   Arbitrary bans of firearm features will do little to stop this.”17 Leaving aside the
    9   unsubstantiated and unsourced claim that criminals obtain their illegal firearms
  10    “primarily from drug dealers,” Lott fails to mention that multiple investigations
  11    have determined that the vast majority of gunmen who used a firearm to commit
  12    mass murder obtained their weapons legally.18 Knowing that mass murderers tend
  13    to acquire their assault weapons legally suggests that assault weapons bans can
  14    assist in reducing the occurrence of gun massacres. In fact, a recent study in the
  15    British Medical Journal (which Lott did not reference) found that “States with more
  16    permissive gun laws and greater gun ownership have higher rates of mass
  17    shootings, and a growing divergence is noted in recent years as rates of mass
  18
  19
  20
        16
  21       Declaration of John Lott, supra note 14, para. 10.
        17
           Id., para 13.
  22    18
           Larry Buchanan et al., How They Got Their Guns, N.Y. Times, February 16,
  23    2018, available at https://www.nytimes.com/interactive/2015/10/03/us/how-mass-
        shooters-got-their-guns.html (last accessed January 13, 2020); Luis Melgar & Lisa
  24    Dunn, Since 1982, 74 Percent of Mass Shooters Obtained Their Guns Legally,
        Guns and America (WAMU Public Radio), November 2, 2018, available at
  25    https://gunsandamerica.org/story/18/11/02/since-1982-74-percent-of-mass-
        shooters-obtained-their-guns-legally (last accessed January 13, 2020); Jillian K.
  26    Peterson and James A. Densley, The Violence Project Database of Mass Shootings
        in the United States, 1966-2019, November 2019, available at
  27    https://www.researchgate.net/publication/337261684_The_Violence_Project_Datab
        ase_of_Mass_Shootings_in_the_United_States_1966-2019 (last accessed
  28    January 13, 2020).
                                                   19
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    1   shootings in restrictive states have decreased and those in permissive states have
    2   increased.”19
    3         32.       Second, Lott asserts that “all credible evidence shows that assault
    4   weapon bans have little to no effect in reducing mass shootings, homicides, or
    5   violent crime.”20 There is a solid evidentiary foundation for rejecting this assertion.
    6   Focusing on mass shootings, which is the primary focus of assault weapons bans,
    7   scholarly research shows that bans on assault weapons have indeed been effective.
    8   As the bulk of Lott’s Declaration deals with the impact of assault weapons bans and
    9   given that he devoted one-third of his Declaration to my research, a discussion of
  10    the flaws in his analysis is warranted.
  11          33.       In support of his claim, Lott cites four studies that, according to him,
  12    offer evidence that assault weapons bans are ineffective.21 The four particular
  13    studies referenced by Lott are a 2004 preliminary report on the 1994 federal AWB
  14    led by Christopher Koper that ultimately concluded “it is premature to make
  15    definitive assessments of the ban’s impact on gun crime”;22 an article by Gary
  16    Kleck on the use of large-capacity magazines in mass shootings that did not assess
  17    the effectiveness of any firearms bans whatsoever;23 a short research note by Mark
  18
  19
  20    19
           Paul M. Reeping et al., State Gun Laws, Gun Ownership, and Mass Shootings in
  21    the U.S.: Cross Sectional Time Series, British Medical Journal, 364, no. 8190,
        (2019), available at https://www.bmj.com/content/364/bmj.l542 (last accessed
  22    January 13, 2020).
        20
           Declaration of John Lott, supra note 14, para. 64 (emphasis added).
  23    21
           Id., paras. 19-30.
  24    22
           Christopher S. Koper et al., An Updated Assessment of the Federal Assault
        Weapons Ban: Impacts on Gun Markets and Gun Violence, 1994-2003, Report to
  25    the National Institute of Justice, Jerry Lee Center for Criminology, University of
        Pennsylvania 2 (2004), available at Declaration of John Lott, supra note 14,
  26    Exhibit 7.
        23
  27       Gary Kleck, Large-Capacity Magazines and the Casualty Counts in Mass
        Shootings: The Plausibility of Linkages, 17 Justice Research & Policy 28 (2016),
  28    available at Declaration of John Lott, supra note 14, Exhibit 8.
                                                      20
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    1   Gius that did not address mass shootings;24 and Lott’s own three-page “simple
    2   before-and-after” assessment of assault weapons bans from his controversial and
    3   much challenged book More Guns, Less Crime.25 As none of these studies offer an
    4   evidentiary basis that is directly related to the legislative intent of assault weapons
    5   bans, they are largely irrelevant.
    6         34.    Lott also cites four other studies that found evidence that assault
    7   weapons bans have been effective at reducing mass shooting violence in the United
    8   States. However, Lott concludes that all four of these studies can be dismissed
    9   because, according to him, they are not “credible.”
  10          35.    The first study that Lott dismisses is a 2018 study led by Christopher
  11    Koper, the lead author of the 2004 preliminary report on the 1994 federal AWB.
  12    According to Lott, the 2018 Koper et al. study “provides no evidence that murders
  13    or mass public shootings were reduced by the [federal] assault weapon ban.”26
  14    However, Koper and his colleagues actually state, “available information suggests
  15    that AWs and other high-capacity semiautomatics are involved in as many as 57%
  16    of [mass murder] incidents. Further, they are particularly prominent in public mass
  17    shootings and those resulting in the highest casualty counts.”27 This led the authors
  18    to conclude that their study “provides further evidence that the federal ban curbed
  19
  20
  21
  22    24
           Mark Gius, An Examination of the Effects of Concealed Weapons Laws and
        Assault Weapons Bans on State-Level Murder Rates, 21 Applied Economics
  23    Letters 265, available at Declaration of John Lott, supra note 14, Exhibit 9.
        25
  24       John R. Lott, Jr., More Guns, Less Crime: Understanding Crime and Gun Control
        Laws 327 (3d ed. 2010), available at Declaration of John Lott, supra note 14,
  25    Exhibit 10.
        26
           Declaration of John Lott, supra note 14, paras. 31-33.
  26    27
           Christopher S. Koper et al., Criminal Use of Assault Weapons and High-Capacity
  27    Semiautomatic Firearms: An Updated Examination of Local and National Sources,
        95 Journal of Urban Health 313, 319 (2018), available at Declaration of John Lott,
  28    supra note 14, Exhibit 11.
                                                   21
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    1   the spread of high-capacity semiautomatic weapons when it was in place and, in
    2   doing so, may have had preventive effects on gunshot victimizations.”28
    3         36.    The second study that Lott dismisses is a 2019 article by Charles
    4   DiMaggio and his colleagues.29 After comparing trends from 1981-2017, the
    5   authors concluded that “the federal AWB of 1994 to 2004 was effective in reducing
    6   mass shooting–related homicides in the United States, and we believe our results
    7   support a re-institution of the 1994 federal assault weapons ban as a way to prevent
    8   and control mass shooting fatalities in the United States.”30 Lott is critical of this
    9   study for applying a time-series analysis (which is a form of trend analysis that
  10    observes data points across time intervals), even though this is an acceptable
  11    methodology in the social sciences (as will be shown below).31 In fact, Lott himself
  12    has performed such “simple before-and-after” assessments, including in his
  13    Declaration.32 Lott is also critical of the DiMaggio et al. study for not “attempt[ing]
  14    to differentiate states with and without their own assault weapons bans,” even
  15    though the main purpose of the study was to evaluate the impact of the federal
  16    AWB.33
  17          37.    The third study that Lott dismisses is a 2015 article by Mark Gius on
  18    the impact of both the federal AWB as well as state assault weapons bans on public
  19    mass shootings.34 After surveying public mass shootings from 1982-2011, Gius
  20    found that “fatalities due to mass shootings were lower during both the federal and
  21
        28
  22       Id., at 320.
        29
           Declaration of John Lott, supra note 14, paras. 34-37.
  23    30
           Charles DiMaggio et al., Changes in US Mass Shooting Deaths Associated with
  24    1994-2004 Federal Assault Weapons Ban: Analysis of Open-Source Data, 86 J. of
        Trauma & Acute Care Surgery 11, 15 (2019), available at Declaration of John Lott,
  25    supra note 14, Exhibit 12.
        31
           Declaration of John Lott, supra note 14, para. 34.
  26    32
           Id., paras. 50-53.
  27    33
           Id., para. 34.
        34
  28       Id., paras. 38-42.
                                                   22
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    1   state assault weapons ban periods.”35 This led him to conclude that “the present
    2   study’s focus on mass shootings shows the effectiveness of these gun control
    3   measures in reducing murders due to mass shootings.”36 Lott takes issue with this
    4   study because its data is drawn from the Mother Jones database of mass shootings,
    5   which he finds to be “arbitrarily selective in its data collection” and, therefore,
    6   “problematic.”37 (The “problematic” nature of the Mother Jones dataset did not
    7   prevent Lott from using it as one of the data sources for his own analysis that he
    8   undertakes later in his Declaration at paras. 50-53.) Lott also criticizes the 2015
    9   Gius study for not observing the rate at which assault weapons were employed (as a
  10    percentage of all firearms used) in a mass shooting. But as will be shown below,
  11    this is a flawed criticism that displays a limited understanding of how regulations
  12    can impact outcomes.38
  13          38.    The last study on the effectiveness of the federal AWB that Lott
  14    dismisses is that from my book Rampage Nation.39 To repeat the findings reported
  15    above (para. 23), I found that, when compared to the 10-year period immediately
  16    before the 1994 AWB, the 10-year period that the federal ban was in effect
  17    corresponded with a 37% reduction in gun massacre incidents and a 43% reduction
  18    in gun massacre deaths. After the AWB expired, the 10-year period that
  19    immediately followed corresponded with a 183% increase in gun massacre
  20    incidents and a 239% increase in gun massacre deaths. Even after accounting for
  21    population growth, these trajectories in gun massacre violence remain consistent.
  22
  23    35
           Mark Gius, The Impact of State and Federal Assault Weapons Bans on Public
  24    Mass Shootings, 22 Applied Economics Letters 281, 283 (2015), available at
        Declaration of John Lott, supra note 14, Exhibit 13.
  25    36
           Id.
        37
  26       Declaration of John Lott, supra note 14, para. 40.
        38
           Id., para. 38. Lott also leveled a similar criticism against the 2019 DiMaggio
  27    study. Id., para. 35.
        39
  28       Id., paras. 43-53.
                                                   23
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    1   As Lott notes, the evidence from my research has been used by members of
    2   Congress to propose a new federal assault weapons ban.40
    3         39.    Lott levels three criticisms against my work: (1) I only analyzed high-
    4   fatality mass shootings, resulting in six or more fatalities (not including the
    5   gunmen), as opposed to a lower threshold of fatalities; (2) I analyzed all categories
    6   of mass shooting, regardless of motive or location, as opposed to only those that
    7   were public rampages that targeted random victims; and (3) I employed a time-
    8   series analysis.
    9         40.    The first two criticisms speak to my outcome variable, so I will
  10    address them together. Lott contends:
  11
              In forming his analysis and conclusions, Klarevas limits his research to
  12
              shootings with 6 or more fatalities. I don’t know of any other study that does
  13          this, and Klarevas doesn’t provide an explanation. Nor does he explain why
  14          he lumps in public shootings with gang shootings, failing to draw any
              distinction. These factors single out Klarevas’ analysis as no other studies
  15          use these limitations or fail to make such distinctions.41
  16
              41.    Just in this short, three-sentence statement, Lott makes several
  17
        inaccurate statements. First, Lott claims that the he is unaware of “any other study”
  18
        that uses six fatalities as a threshold for studying mass-scale gun violence. Yet, in
  19
        the sentence immediately preceding this statement, Lott discusses an analysis by
  20
        John Donohue and Theodora Boulouta which employed the six-fatality threshold as
  21
        one of its measures.42 And there have been other studies that have used six
  22
        fatalities as a measure as well.43 Second, Lott claims that I do not “provide an
  23
        40
  24       Id., para. 44.
        41
           Id., para. 43 (emphasis added).
  25    42
           Id.
  26    43
           Klarevas et al., supra note 2; Gary Kleck, Targeting Guns: Firearms and Their
        Control (1997); Sherry Towers et al., Temporal Trends in Public Mass Shootings:
  27    High-Capacity Magazines Significantly Increase Fatality Counts, and Are
        Becoming More Prevalent, medRxiv (2019), available at
  28
                                                   24
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    1   explanation” for why I employed a six-fatality threshold. I do, however, make the
    2   case in my book that gun massacres are a unique subset of mass shootings.44 In
    3   short, gun massacres are the deadliest category of mass shootings. As such, they
    4   deserve particular attention. Third, Lott claims that I lump together all gun
    5   massacres (despite differences in their motives) without drawing any distinctions.
    6   This, too, is something that I discussed at length in Chapter Two of my book, where
    7   I argued that high-fatality mass shootings are troubling, regardless of motive or
    8   target.45 Indeed, legislatures that enact laws seek to prevent all such large-scale acts
    9   of firearm violence, not just the ones in public that target random victims. Fourth,
  10    Lott claims that “no other studies use these limitations or fail to make such
  11    distinctions.” Again, there are several studies that treat mass shootings as incidents
  12    broader than merely what Lott refers to as “public mass shootings.”46
  13          42.    The third criticism that Lott levels against my work is that it employs a
  14    time-series approach. According to Lott, “Few academics would make the types of
  15    comparisons that Klarevas makes.”47 Contrary to this assertion, Lott in his own
  16    Declaration cites several time-series analyses undertaken by the following scholars:
  17    Christopher Koper, Daniel Woods, Jeffrey Roth, William Johnson, Jordan Nichols,
  18    Ambrozine Ayers, Natalie Mullins, Charles DiMaggio, Jacob Avraham, Cherisse
  19    Berry, Marko Bukur, Justin Feldman, Michael Klein, Noor Shah, Manish Tandon,
  20    Spiros Frangos, John Donohue, Theodora Boulouta, and James Alan Fox. The
  21
  22
        https://www.medrxiv.org/content/10.1101/2019.12.12.19014738v1 (last accessed
  23    January 13, 2020).
        44
           Klarevas, supra note 1; see also Klarevas et al., supra note 2.
  24    45
           Klarevas, supra note 1, at 31-48.
  25    46
           Klarevas et al., supra note 2; Reeping et al., supra note 20; Marisa Booty et al.,
        Describing a ‘Mass Shooting’: The Role of Databases in Understanding Burden,
  26    6 Injury Epidemiology (2019), available at
        https://injepijournal.biomedcentral.com/articles/10.1186/s40621-019-0226-7 (last
  27    accessed January 13, 2020).
        47
  28       Declaration of John Lott, supra note 14, para. 45.
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                      Declaration of Professor Louis Klarevas (19-cv-1537-BEN-JLB)
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    1   bottom line is that employing a time-series analysis is a legitimate methodological
    2   practice. In fact, Lott even cites the 2004 Koper report, which relies in part on
    3   time-series analyses to assess trends affected by the 1994 federal AWB, as a
    4   credible study in support of his argument.48 Perhaps the legitimacy of this
    5   methodology explains why Lott, himself, employs it for purposes of the analysis he
    6   performs in his Declaration.49
    7          43.    In addition, Lott makes inaccurate statements in his Declaration
    8   concerning mass-casualty violence and how weapons restrictions can function to
    9   reduce such violence. For starters, Lott suggests that small differences in the
  10    number of incidents before, during, and after the federal AWB are not “large
  11    enough to prove that the ban had any impact on the frequency of attacks.”50
  12    Extreme events are incidents that do not happen frequently, but, when they do
  13    occur, they have tremendous consequences. To put it in simple terms, the
  14    Oklahoma City and the September 11 terrorist attacks were both extreme events.
  15    No credible scholar would judge post-9/11 counter-terrorism policies as ineffective
  16    because the decrease in such extreme terrorist attacks amounted to only two fewer
  17    incidents—from two to zero—in the years since 2001. Given the nature of extreme
  18    events, like gun massacres, a small decrease in the number of such incidents do
  19    matter, especially to the numerous lives saved that such decreases might represent.
  20           44.    Lott also argues that “if assault weapons bans reduced these attacks
  21    [i.e., gun massacres], the share of attacks committed with ‘assault weapons’ should
  22    have decreased.”51 Lott is suggesting that the number of gun massacres involving
  23    assault weapons as a percentage or share of all gun massacres must go down
  24
  25
        48
           Id., paras. 19-23.
  26    49
           Id., paras. 50-53.
  27    50
           Id., para. 49.
        51
  28       Id., para. 46.
                                                    26
                       Declaration of Professor Louis Klarevas (19-cv-1537-BEN-JLB)
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    1   substantially in order to establish that an assault weapons ban was effective.
    2   Furthermore, Lott is implying that, should an assault weapons ban be repealed,
    3   establishing its effectiveness would depend on showing that the share of gun
    4   massacres involving assault weapons relative to all gun massacres increased. These
    5   assertions are offered without any sound logical or empirical basis. In particular,
    6   Lott fails to address recognized phenomena in the academic literature (e.g.,
    7   spillover effects and substitution effects) that capture how regulations can lead to
    8   additional benefits, including reductions in different forms of mass-casualty firearm
    9   violence. Such a dynamic could explain why the federal AWB was effective while,
  10    at the same time, the share of gun massacres involving assault weapons, as a
  11    percentage of all gun massacres, remained constant.
  12          45.    There are also empirical grounds for rejecting Lott’s claims regarding
  13    patterns and trends related to the federal AWB. Specifically, he uses faulty data in
  14    his analysis of gun massacres before, during, and after the AWB. To provide one
  15    example, in the 10-year period following the AWB (September 13, 2004, to
  16    September 12, 2014), Lott states that there were 35 gun massacres, 5 of which
  17    involved assault weapons. He then calculates the share of incidents involving
  18    assault weapons to be 14% (5 divided by 35 equals 0.14). Actually, there were 34
  19    gun massacres during that timeframe, 8 of which involved assault weapons. In
  20    other words, the share was 24% (8 divided by 34 equals 0.24). Lott’s errors result
  21    in a significant undercount of the share of incidents involving assault weapons
  22    relative to all incidents. Moreover, his mistakes are not limited to the post-AWB
  23    timeframe. Lott’s analysis of gun massacres occurring in the 10-year periods
  24    before and during the AWB also contains incorrect data points. Despite these
  25
        errors, Lott’s data (as presented in his Declaration) still show that gun massacres
  26
        involving assault weapons went down after the AWB went into effect, only to go
  27
        up after the AWB expired.
  28
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                      Declaration of Professor Louis Klarevas (19-cv-1537-BEN-JLB)
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    1          46.   When the studies and underlying data are analyzed in a comprehensive
    2   and accurate manner, the outcome is clear: there is ample evidence to reasonably
    3   conclude that assault weapons bans reduce gun massacres and save lives.
    4
    5   III.   SUMMARY
    6
    7          47.   It is my professional opinion, based upon my extensive review and
    8   analysis of data from the past four decades, that (1) gun massacres involving six or
    9   more fatalities presently pose the deadliest criminal threat, in terms of individual
  10    acts of intentional violence, to the safety and security of American society in the
  11    post-9/11 era, and the problem is growing nationwide; (2) gun massacres involving
  12    assault weapons, on average, have resulted in a substantially larger loss of life than
  13    similar incidents that did not involve assault weapons; and (3) jurisdictions that
  14    restrict the possession of assault weapons experience fewer gun massacres, per
  15    capita, than jurisdictions that do not restrict assault weapons. Based on these
  16    findings, it is my opinion that restrictions on assault weapons have the potential to
  17    significantly reduce the frequency and lethality of gun massacres.
  18           48.   The main purpose of an assault weapons ban is to restrict the
  19    availability of assault weapons. The rationale is that, if there are fewer assault
  20    weapons in circulation, then potential mass shooters will either be dissuaded from
  21    attacking or they will be forced to use less-lethal firearms, resulting in fewer lives
  22    lost. The epidemiological data buttress this line of reasoning, supporting the
  23    California legislature’s determination that restricting civilian access to assault
  24    weapons will enhance public safety.
  25
               49.   While imposing constraints on assault weapons will not prevent all
  26
        future mass shootings, the data suggest that legislative efforts to deny gunmen
  27
        access to assault weapons should result in a significant number of lives being saved.
  28
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                      Declaration of Professor Louis Klarevas (19-cv-1537-BEN-JLB)
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    1        I declare under penalty of perjury that the foregoing is true and correct.
    2        Executed in New York, New York, on January 22, 2020.
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    9                                              Louis Klarevas

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                    Declaration of Professor Louis Klarevas (19-cv-1537-BEN-JLB)
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                                EXHIBIT 1
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  Education

  Ph.D. International Relations, 1999
        School of International Service
        American University

  B.A.   Political Science, Cum Laude, 1989
         School of Arts and Sciences
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  Current Position

  Research Professor, Teachers College, Columbia University, New York, NY


  Representation

  Book/Print
  Don Fehr
  Trident Media Group
  41 Madison Avenue
  New York, NY 10010

  Film/TV
  Kim Yau
  Paradigm Talent Agency
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  Beverly Hills, CA 90210


  Experience

  Academic Experience (Presented in Academic Years)
  Research Professor, Teachers College, Columbia University, New York, NY, 2018-

  Associate Lecturer, Department of Global Affairs, University of Massachusetts – Boston,
  Boston, MA, 2015-2020

  Senior Fulbright Scholar (Security Studies), Department of European and International Studies,
  University of Macedonia, Thessaloniki, Greece, 2011-2012
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  Founder and Coordinator, Graduate Transnational Security Program, Center for Global Affairs,
  New York University, New York, NY, 2009-2011

  Faculty Affiliate, A. S. Onassis Program in Hellenic Studies, New York University, New York,
  NY, 2007-2011

  Clinical Faculty, Center for Global Affairs, New York University, New York, NY, 2006-2011

  Adjunct Professor, Center for Global Affairs, New York University, New York, NY, 2004-2006

  Assistant Professor of Political Science, City University of New York – College of Staten Island,
  Staten Island, NY, 2003-2006

  Associate Fellow, European Institute, London School of Economics and Political Science,
  London, England, UK, 2003-2004

  Defense Analysis Research Fellow, London School of Economics and Political Science, London,
  England, UK, 2002-2004

  Visiting Assistant Professor of Political Science and International Affairs, George Washington
  University, Washington, DC, 1999-2002

  Adjunct Professor of Political Science, George Washington University, Washington, DC, 1998-
  1999

  Adjunct Professor of International Relations, School of International Service, American
  University, Washington, DC, 1994-1995

  Dean’s Scholar, School of International Service, American University, Washington, DC, 1989-
  1992

  Professional Experience (Presented in Calendar Years)
  Expert for State of California, Miller v. Becerra, United States District Court for Southern
  District of California, Case Number 19-cv-1537-BEN-JLB, San Diego, CA, 2019-

  Expert for Plaintiffs, Ward et al. v. Academy Sports + Outdoor, District Court Bexar County,
  Texas, 224th Judicial District, Cause Number 2017CI23341, Bexar County, TX, 2019-

  Opinion Contributor, New York Daily News, New York, NY, 2017-

  Expert for State of California, Duncan v. Becerra, United States District Court for Southern
  District of California, Case Number 17-cv-1017-BEN-JLB, San Diego, CA, 2017-

  Expert for State of California, Wiese v. Becerra, United States District Court for Eastern District
  of California, Case Number 17-cv-00903-WBS-KJN, Sacramento, CA, 2017-




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  Expert for State of Colorado, Rocky Mountain Gun Owners v. Hickenlooper, District Court for
  County and City of Denver, Colorado, Case Number 2013CV33879, Denver, CO, 2016-2017

  Consultant, National Joint Terrorism Task Force, Federal Bureau of Investigation, Washington,
  DC, 2015

  Writer, Prometheus Books, Amherst, NY, 2012-2015

  Consultant, Academy for International Conflict Management and Peacebuilding, United States
  Institute of Peace, Washington, DC, 2008-2009

  Consultant, United States Institute of Peace, Washington, DC, 2005

  Research Associate, United States Institute of Peace, Washington, DC, 1992-1998

  Faculty Advisor, National Youth Leadership Forum, Washington, DC, 1992


  Courses Taught

   Graduate                                             Undergraduate
   Counter-Terrorism and Homeland Security              American Government and Politics
   International Political Economy                      European-Atlantic Relations
   International Politics in a Post-Cold War Era        International Political Economy
   International Security                               International Relations
   Machinery and Politics of American Foreign Policy    Transnational Terrorism
   Role of the United States in World Affairs           United States Foreign Policy
   Security Policy
   Theories of International Politics
   Transnational Security
   Transnational Terrorism
   United States Foreign Policy


  Books

  Rampage Nation: Securing America from Mass Shootings (2016)


  Scholarship

  “The Effect of Large-Capacity Magazine Bans on High-Fatality Mass Shootings, 1990-2017,”
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  Unimaginable Community, 1955-1997, Boulder, CO: Westview Press, 1998 (co-authored with
  Theodore A. Couloumbis)

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  authored with Colin P. Clarke)

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  https://www.nydailynews.com/authors/?author=Louis+Klarevas

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  Security Successes and Vulnerabilities,” October 25, 2018

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  Deter Shooters or Keep Kids Safe,” May 22, 2018

  “It’s the Guns (and Ammo), Stupid: Dissuading Killers and Hardening Targets Matter Too, But
  Access to Weapons Matters Most,” February 18, 2018

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  November 7, 2017

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  Russia’s Energy Stranglehold,” March 6, 2014



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  Trees,” October 10, 2012

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  “The Coming Twivolutions? Social Media in the Recent Uprisings in Tunisia and Egypt,”
  January 31, 2011

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  Greengemony,” December 15, 2009

  “Traffickers Without Borders: A ‘Journey’ into the Life of a Child Victimized by Sex
  Trafficking,” November 17, 2009

  “Beyond a Lingering Doubt: It’s Time for a New Standard on Capital Punishment,” November 9,
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  “It’s the Guns Stupid: Why Handguns Remain One of the Biggest Threats to Homeland
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  “Obama Wins the 2009 Nobel Promise Prize,” October 9, 2009




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  “The White House’s Benghazi Problem,” September 20, 2012

  “Greeks Don’t Want a Grexit,” June 14, 2012

  “The Earthquake in Greece,” May 7, 2012

  “The Idiot Jihadist Next Door,” December 1, 2011

  “Locked Up Abroad,” October 4, 2011


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  “Is It Completely Nuts That the British Police Don’t Carry Guns? Maybe Not,” August 13, 2011

  “How Obama Could Have Stayed the Execution of Humberto Leal Garcia,” July 13, 2011

  “After Osama bin Laden: Will His Death Hasten Al Qaeda’s Demise?” May 2, 2011

  “Libya’s Stranger Soldiers: How To Go After Qaddafi’s Mercenaries,” February 28, 2011

  “Closing the Gap: How To Reform U.S. Gun Laws To Prevent Another Tucson,” January 13,
  2011

  “Easy Target,” June 13, 2010

  “Death Be Not Proud,” October 27, 2003 (correspondence)


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  Interpreting the Espionage Act,” Writ (FindLaw.com), June 9, 2006

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  S. Schiffman)

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  (FindLaw.com), May 17, 2005

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  Writ (FindLaw.com), March 21, 2005 (co-authored with Howard S. Schiffman)


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  “Time to Pay,” August 2003

  “Does Turkey Have an Ulterior Motive?” July 2003

  “Will They Make Up?” June 2003

  “Don’t Take the Bait,” May 2003

  “If the Cheers Turn to Jeers,” April 2003

  “The Power of a Niche Identity,” April 2003

  “If You Can’t Beat Them, Join Them,” April 2003

  “Show Me the Euros,” March 2003


  Presentations and Addresses

  In addition to the presentations listed below, I have made close to one hundred media
  appearances, book events, and educational presentations (beyond lectures for my own
  classes)

  “Addressing Mass Shootings in Public Health: Lessons from Security Studies,” Teachers
  College, Columbia University, November 25, 2019

  “Rampage Nation: Securing America from Mass Shootings,” Swarthmore College, October 24,
  2019

  “Rampage Nation: Securing America from Mass Shootings,” University of Pennsylvania,
  February 9, 2018




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  “Treating Mass Shootings for What They Really Are: Threats to American Security,”
  Framingham State University, October 26, 2017

  “Book Talk: Rampage Nation,” Teachers College, Columbia University, October 17, 2017

  Participant, Roundtable on Assault Weapons and Large-Capacity Magazines, Annual Conference
  on Second Amendment Litigation and Jurisprudence, Law Center to Prevent Gun Violence,
  October 16, 2017

  “Protecting the Homeland: Tracking Patterns and Trends in Domestic Terrorism,” address
  delivered to the annual meeting of the National Joint Terrorism Task Force, June 2015

  “Sovereign Accountability: Creating a Better World by Going after Bad Political Leaders,”
  address delivered to the Daniel H. Inouye Asia-Pacific Center for Security Studies, November
  2013

  “Game Theory and Political Theater,” address delivered at the School of Drama, State Theater of
  Northern Greece, May 2012

  “Holding Heads of State Accountable for Gross Human Rights Abuses and Acts of Aggression,”
  presentation delivered at the Michael and Kitty Dukakis Center for Public and Humanitarian
  Service, American College of Thessaloniki, May 2012

  Chairperson, Cultural Enrichment Seminar, Fulbright Foundation – Southern Europe, April 2012

  Participant, Roundtable on “Did the Intertubes Topple Hosni?” Zócalo Public Square, February
  2011

  Chairperson, Panel on Democracy and Terrorism, annual meeting of the International Security
  Studies Section of the International Studies Association, October 2010

  “Trends in Terrorism Within the American Homeland Since 9/11,” paper to be presented at the
  annual meeting of the International Security Studies Section of the International Studies
  Association, October 2010

  Panelist, “In and Of the World,” Panel on Global Affairs in the 21st Century, Center for Global
  Affairs, New York University, March 2010

  Moderator, “Primacy, Perils, and Players: What Does the Future Hold for American Security?”
  Panel of Faculty Symposium on Global Challenges Facing the Obama Administration, Center for
  Global Affairs, New York University, March 2009

  “Europe’s Broken Border: The Problem of Illegal Immigration, Smuggling and Trafficking via
  Greece and the Implications for Western Security,” presentation delivered at the Center for
  Global Affairs, New York University, February 2009




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  “The Dangers of Democratization: Implications for Southeast Europe,” address delivered at the
  University of Athens, Athens, Greece, May 2008

  Participant, “U.S. National Intelligence: The Iran National Intelligence Estimate,” Council on
  Foreign Relations, New York, April 2008

  Moderator, First Friday Lunch Series, “Intelligence in the Post-9/11 World: An Off-the-Record
  Conversation with Dr. Joseph Helman (U.S. Senior National Intelligence Service),” Center for
  Global Affairs, New York University, March 2008

  Participant, “U.S. National Intelligence: Progress and Challenges,” Council on Foreign
  Relations, New York, March 2008

  Moderator, First Friday Lunch Series, “Public Diplomacy: The Steel Backbone of America’s
  Soft Power: An Off-the-Record Conversation with Dr. Judith Baroody (U.S. Department of
  State),” Center for Global Affairs, New York University, October 2007

  “The Problems and Challenges of Democratization: Implications for Latin America,”
  presentation delivered at the Argentinean Center for the Study of Strategic and International
  Relations Third Conference on the International Relations of South America (IBERAM III),
  Buenos Aires, Argentina, September 2007

  “The Importance of Higher Education to the Hellenic-American Community,” keynote address
  to the annual Pan-Icarian Youth Convention, New York, May 2007

  Moderator, First Friday Lunch Series, Panel Spotlighting Graduate Theses and Capstone
  Projects, Center for Global Affairs, New York University, April 2007

  Convener, U.S. Department of State Foreign Officials Delegation Working Group on the Kurds
  and Turkey, March 2007

  “Soft Power and International Law in a Globalizing Latin America,” round-table presentation
  delivered at the Argentinean Center for the Study of Strategic and International Relations
  Twelfth Conference of Students and Graduates of International Relations in the Southern Cone
  (CONOSUR XII), Buenos Aires, Argentina, November 2006

  Moderator, First Friday Lunch Series, “From Berkeley to Baghdad to the Beltway: An Off-the-
  Record Conversation with Dr. Catherine Dale (U.S. Department of Defense),” Center for Global
  Affairs, New York University, November 2006

  Chairperson, Roundtable on Presidential Privilege and Power Reconsidered in a Post-9/11 Era,
  American Political Science Association Annual Meeting, September 2006

  “Constitutional Controversies,” round-table presentation delivered at City University of New
  York-College of Staten Island, September 2005




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  “The Future of the Cyprus Conflict,” address to be delivered at City University of New York
  College of Staten Island, April 2005

  “The 2004 Election and the Future of American Foreign Policy,” address delivered at City
  University of New York College of Staten Island, December 2004

  “One Culprit for the 9/11 Attacks: Political Realism,” address delivered at City University of
  New York-College of Staten Island, September 2004

  “Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
  Coup,” address delivered at London School of Economics, November 2003

  “Beware of Europeans Bearing Gifts? Cypriot Accession to the EU and the Prospects for Peace,”
  address delivered at Conference on Mediterranean Stability, Security, and Cooperation, Austrian
  Defense Ministry, Vienna, Austria, October 2003

  Co-Chair, Panel on Ideational and Strategic Aspects of Greek International Relations, London
  School of Economics Symposium on Modern Greece, London, June 2003

  “Greece between Old and New Europe,” address delivered at London School of Economics, June
  2003

  Co-Chair, Panel on International Regimes and Genocide, International Association of Genocide
  Scholars Annual Meeting, Galway, Ireland, June 2003

  “American Cooperation with International Tribunals,” paper presented at the International
  Association of Genocide Scholars Annual Meeting, Galway, Ireland, June 2003

  “Is the Unipolar Moment Fading?” address delivered at London School of Economics, May 2003

  “Cyprus, Turkey, and the European Union,” address delivered at London School of Economics,
  February 2003

  “Bridging the Greek-Turkish Divide,” address delivered at Northwestern University, May 1998

  “The CNN Effect: Fact or Fiction?” address delivered at Catholic University, April 1998

  “The Current Political Situation in Cyprus,” address delivered at AMIDEAST, July 1997

  “Making the Peace Happen in Cyprus,” presentation delivered at the U.S. Institute of Peace in
  July 1997

  “The CNN Effect: The Impact of the Media during Diplomatic Crises and Complex
  Emergencies,” a series of presentations delivered in Cyprus (including at Ledra Palace), May
  1997




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  “Are Policy-Makers Misreading the Public? American Public Opinion on the United Nations,”
  paper presented at the International Studies Association Annual Meeting, Toronto, Canada,
  March 1997 (with Shoon Murray)

  “The Political and Diplomatic Consequences of Greece’s Recent National Elections,”
  presentation delivered at the National Foreign Affairs Training Center, Arlington, VA,
  September 1996

  “Prospects for Greek-Turkish Reconciliation,” presentation delivered at the U.S. Institute of
  Peace Conference on Greek-Turkish Relations, Washington, D.C., June, 1996 (with Theodore A.
  Couloumbis)

  “Greek-Turkish Reconciliation,” paper presented at the Karamanlis Foundation and Fletcher
  School of Diplomacy Joint Conference on The Greek-U.S. Relationship and the Future of
  Southeastern Europe, Washington, D.C., May, 1996 (with Theodore A. Couloumbis)

  “The Path toward Peace in the Eastern Mediterranean and the Balkans in the Post-Cold War
  Era,” paper presented at the International Studies Association Annual Meeting, San Diego, CA,
  March, 1996 (with Theodore A. Couloumbis)

  “Peace Operations: The View from the Public,” paper presented at the International Studies
  Association Annual Meeting, San Diego, CA, March, 1996

  Chairperson, Roundtable on Peace Operations, International Security Section of the International
  Studies Association Annual Meeting, Rosslyn, VA, October, 1995

  “Chaos and Complexity in International Politics: Epistemological Implications,” paper presented
  at the International Studies Association Annual Meeting, Washington, D.C., March, 1994

  “At What Cost? American Mass Public Opinion and the Use of Force Abroad,” paper presented
  at the International Studies Association Annual Meeting, Washington, D.C., March, 1994 (with
  Daniel B. O'Connor)

  “American Mass Public Opinion and the Use of Force Abroad,” presentation delivered at the
  United States Institute of Peace, Washington, D.C., February, 1994 (with Daniel B. O'Connor)

  “For a Good Cause: American Mass Public Opinion and the Use of Force Abroad,” paper
  presented at the Annual Meeting of the Foreign Policy Analysis/Midwest Section of the
  International Studies Association, Chicago, IL, October, 1993 (with Daniel B. O’Connor)

  “American International Narcotics Control Policy: A Critical Evaluation,” presentation delivered
  at the American University Drug Policy Forum, Washington, D.C., November, 1991

  “American National Security in the Post-Cold War Era: Social Defense, the War on Drugs, and
  the Department of Justice,” paper presented at the Association of Professional Schools of
  International Affairs Conference, Denver, CO, February, 1991



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  Referee for Grant Organizations, Peer-Reviewed Journals, and Book Publishers

  National Science Foundation, Division of Social and Economic Sciences

  American Journal of Public Health

  American Political Science Review

  British Medical Journal (BMJ)

  Comparative Political Studies

  Journal of Public and International Affairs

  Millennium

  Political Behavior

  Presidential Studies Quarterly

  Violence and Victims

  Brill Publishers

  Johns Hopkins University Press

  Routledge


  Service to University, Profession, and Community

  Contributing Lecturer, Johns Hopkins University, Massive Open Online Course on Evidence-
  Based Gun Violence Research, Funded by David and Lucile Packard Foundation, 2019

  Expert for Victims of Sutherland Springs, TX, Mass Shooting, 2019-

  Member, Group of Gun Violence Experts, New York Times Upshot Survey, 2017

  Expert for State of California, 2017-

  Expert for State of Colorado, 2016-2017

  Member, Guns on Campus Assessment Group, Johns Hopkins University and Association of
  American Universities, 2016

  Member, Fulbright Selection Committee, Fulbright Foundation, Athens, Greece, 2012



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  Faculty Advisor, Global Affairs Graduate Society, New York University, 2009-2011

  Founder and Coordinator, Graduate Transnational Security Studies, Center for Global Affairs,
  New York University, 2009-2011

  Organizer, Annual Faculty Symposium, Center for Global Affairs, New York University, 2009

  Member, Faculty Search Committees, Center for Global Affairs, New York University, 2007-
  2009

  Member, Graduate Program Director Search Committee, Center for Global Affairs, New York
  University, 2008-2009

  Developer, Transnational Security Studies, Center for Global Affairs, New York University,
  2007-2009

  Participant, Council on Foreign Relations Special Series on National Intelligence, New York,
  2008

  Member, Graduate Certificate Curriculum Committee, Center for Global Affairs, New York
  University, 2008

  Member, Faculty Affairs Committee, New York University, 2006-2008

  Member, Curriculum Review Committee, Center for Global Affairs, New York University,
  2006-2008

  Member, Overseas Study Committee, Center for Global Affairs, New York University, 2006-
  2007

  Participant, New York Academic Delegation to Israel, Sponsored by American-Israel Friendship
  League, 2006

  Member, Science, Letters, and Society Curriculum Committee, City University of New York-
  College of Staten Island, 2006

  Member, Graduate Studies Committee, City University of New York-College of Staten Island,
  2005-2006

  Member, Summer Research Grant Selection Committee, City University of New York-College
  of Staten Island, 2005

  Director, College of Staten Island Association, 2004-2005

  Member of Investment Committee, College of Staten Island Association, 2004-2005



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  Member of Insurance Committee, College of Staten Island Association, 2004-2005

  Member, International Studies Advisory Committee, City University of New York-College of
  Staten Island, 2004-2006

  Faculty Advisor, Pi Sigma Alpha National Political Science Honor Society, City University of
  New York-College of Staten Island, 2004-2006

  Participant, World on Wednesday Seminar Series, City University of New York-College of
  Staten Island, 2004-2005

  Participant, American Democracy Project, City University of New York-College of Staten
  Island, 2004

  Participant, Philosophy Forum, City University of New York-College of Staten Island, 2004

  Commencement Liaison, City University of New York-College of Staten Island, 2004

  Member of Scholarship Committee, Foundation of Pan-Icarian Brotherhood, 2003-2005, 2009

  Scholarship Chairman, Foundation of Pan-Icarian Brotherhood, 2001-2003

  Faculty Advisor to the Kosmos Hellenic Society, George Washington University, 2001-2002

  Member of University of Pennsylvania’s Alumni Application Screening Committee, 2000-2002

  Participant in U.S. Department of State’s International Speakers Program, 1997

  Participant in Yale University’s United Nations Project, 1996-1997

  Member of Editorial Advisory Board, Journal of Public and International Affairs, Woodrow
  Wilson School of Public and International Affairs, Princeton University, 1991-1993

  Voting Graduate Student Member, School of International Service Rank and Tenure Committee,
  American University, 1990-1992

  Member of School of International Service Graduate Student Council, American University,
  1990-1992

  Teaching Assistant for the Several Courses (World Politics, Beyond Sovereignty, Between Peace
  and War, Soviet-American Security Relations, and Organizational Theory) at School of
  International Service Graduate Student Council, American University, 1989-1992

  Representative for American University at the Annual Meeting of the Association of
  Professional Schools of International Affairs, Denver, Colorado, 1991



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  Associations and Organizations (Past and Present)

  Academy of Political Science

  American Political Science Association

  Anderson Society of American University

  Carnegie Council Global Ethics Network

  International Political Science Association

  International Studies Association

  Museum of Modern Art

  New York Screenwriters Collective

  Pan-Icarian Brotherhood

  Pi Sigma Alpha

  Sigma Nu Fraternity

  Social Science Research Network

  United States Department of State Alumni Network

  United States Institute of Peace Alumni Association

  University of Pennsylvania Alumni Association


  Honors and Awards

  Senior Fulbright Fellowship, 2012

  Professional Staff Congress Research Grantee, City University of New York, 2004-2005

  Research Assistance Award (Two Times), City University of New York-College of Staten
  Island, 2004

  Summer Research Fellowship, City University of New York-College of Staten Island, 2004

  European Institute Associate Fellowship, London School of Economics, 2003-2004




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  Hellenic Observatory Defense Analysis Research Fellowship, London School of Economics,
  2002-2003

  United States Institute of Peace Certificate of Meritorious Service, 1996

  National Science Foundation Dissertation Research Grant, 1995 (declined)

  Alexander George Award for Best Graduate Student Paper, Runner-Up, Foreign Policy Analysis
  Section, International Studies Association, 1994

  Dean’s Scholar Fellowship, School of International Service, American University, 1989-1992

  Graduate Research and Teaching Assistantship, School of International Service, American
  University, 1989-1992

  American Hellenic Educational Progressive Association (AHEPA) College Scholarship, 1986

  Political Science Student of the Year, Wilkes-Barre Area School District, 1986




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                                EXHIBIT 2
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                       Excerpt from Rampage Nation

                                   Table 2.1




  Source: Louis Klarevas, Rampage Nation: Securing America from Mass
  Shootings 48 (2016).
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                                EXHIBIT 3
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              Gun Massacres in the United States, 1980-2019

                                                                Involved
                                                                 Assault
              Date              City         State    Deaths    Weapon(s)
       1      1/3/1981         Delmar         IA        6          N
       2      1/7/1981       Richmond         VA        6          N
       3      5/2/1981         Clinton        MD        6          N
       4     8/21/1981      Indianapolis      IN        6          N
       5     2/17/1982         Farwell        MI        7          N
       6      8/9/1982      Grand Prairie     TX        6          N
       7     8/20/1982         Miami          FL        8          N
       8      9/7/1982          Craig         AK        8          N
       9     9/25/1982      Wilkes-Barre      PA        13         Y
      10     2/18/1983         Seattle       WA         13         N
      11      3/3/1983       McCarthy         AK        6          N
                           College Station
      12    10/11/1983     and Hempstead      TX        6            N
      13     4/15/1984        Brooklyn        NY        10           N
                             Manley Hot
      14     5/19/1984         Springs        AK        8            N
      15     6/29/1984          Dallas        TX        6            N
      16     7/18/1984       San Ysidro       CA        21           Y
      17    10/18/1984       Evansville       IN        6            N
      18     8/20/1986        Edmond          OK        14           N
      19     12/8/1986        Oakland         CA        6            Y
      20      2/5/1987          Flint         MI        6            N
      21     4/23/1987        Palm Bay        FL        6            Y
      22     7/12/1987         Tacoma         WA        7            N
      23     9/25/1987         Elkland        MO        7            N
      24    12/30/1987         Algona         IA        6            N
      25     2/16/1988       Sunnyvale        CA        7            N
      26     9/14/1989       Louisville       KY        8            Y

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                                                                Involved
                                                                 Assault
                  Date          City         State    Deaths    Weapon(s)
      27     6/18/1990      Jacksonville      FL        9          N
      28     1/26/1991        Chimayo         NM        7          N
      29      8/9/1991        Waddell         AZ        9          N
      30    10/16/1991         Killeen        TX        23         N
                           Morro Bay and
      31     11/7/1992      Paso Robles       CA        6            N
      32      1/8/1993        Palatine        IL        7            N
      33     5/16/1993         Fresno         CA        7            Y
      34      7/1/1993     San Francisco      CA        8            Y
      35     12/7/1993      Garden City       NY        6            N
      36     4/20/1999        Littleton       CO        13           Y
      37     7/12/1999         Atlanta        GA        6            N
      38     7/29/1999         Atlanta        GA        9            N
      39     9/15/1999       Fort Worth       TX        7            N
      40     11/2/1999        Honolulu        HI        7            N
      41    12/26/2000       Wakefield        MA        7            Y
      42    12/28/2000      Philadelphia      PA        7            N
      43     8/26/2002        Rutlegde        AL        6            N
      44     1/15/2003        Edinburg        TX        6            Y
      45      7/8/2003        Meridian        MS        6            N
      46     8/27/2003        Chicago         IL        6            N
      47     3/12/2004         Fresno         CA        9            N
      48    11/21/2004       Birchwood        WI        6            Y
      49     3/12/2005       Brookfield       WI        7            N
      50     3/21/2005        Red Lake        MN        9            N
      51     1/30/2006         Goleta         CA        7            N
      52     3/25/2006         Seattle        WA        6            N
      53      6/1/2006      Indianapolis      IN        7            Y
      54    12/16/2006      Kansas City       KS        6            N
      55     4/16/2007       Blacksburg       VA        32           N

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                                                                Involved
                                                                 Assault
                  Date         City          State    Deaths    Weapon(s)
      56     10/7/2007       Crandon          WI        6          Y
      57     12/5/2007        Omaha           NE        8          Y
      58    12/24/2007      Carnation        WA         6          N
      59      2/7/2008      Kirkwood          MO        6          N
      60      9/2/2008         Alger         WA         6          N
      61    12/24/2008        Covina          CA        8          N
      62     1/27/2009     Los Angeles        CA        6          N
                             Kinston,
                           Samson, and
      63     3/10/2009        Geneva          AL        10           Y
      64     3/29/2009       Carthage         NC        8            N
      65      4/3/2009     Binghamton         NY        13           N
      66     11/5/2009      Fort Hood         TX        13           N
      67     1/19/2010     Appomattox         VA        8            Y
      68      8/3/2010      Manchester        CT        8            N
      69      1/8/2011        Tucson          AZ        6            N
      70      7/7/2011     Grand Rapids       MI        7            N
                              Copley
      71      8/7/2011      Township          OH        7            N
      72    10/12/2011      Seal Beach        CA        8            N
      73    12/25/2011      Grapevine         TX        6            N
      74      4/2/2012       Oakland          CA        7            N
      75     7/20/2012        Aurora          CO        12           Y
      76      8/5/2012      Oak Creek         WI        6            N
      77     9/27/2012     Minneapolis        MN        6            N
      78    12/14/2012       Newtown          CT        27           Y
      79    7/26//2013        Hialeah         FL        6            N
      80     9/16/2013     Washington         DC        12           N
      81      7/9/2014        Spring          TX        6            N
      82     9/18/2014         Bell           FL        7            N

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                                                                Involved
                                                                 Assault
                  Date      City             State    Deaths    Weapon(s)
      83     2/26/2015     Tyrone             MO        7          N
      84     5/17/2015     Waco               TX        9          N
      85     6/17/2015   Charleston           SC        9          N
      86      8/8/2015    Houston             TX        8          N
      87     10/1/2015   Roseburg             OR        9          N
      88     12/2/2015 San Bernardino         CA        14         Y
      89     2/21/2016   Kalamazoo            MI        6          N
      90     4/22/2016    Piketon             OH        8          N
      91     6/12/2016    Orlando             FL        49         Y
      92     5/27/2017  Brookhaven            MS        8          N
      93     9/10/2017     Plano              TX        8          Y
      94     10/1/2017   Las Vegas            NV        58         Y
                         Sutherland
      95     11/5/2017    Springs             TX        25           Y
      96     2/14/2018    Parkland            FL        17           Y
      97     5/18/2018    Santa Fe            TX        10           N
      98    10/27/2018   Pittsburgh           PA        11           Y
      99     11/7/2018 Thousand Oaks          CA        12           N
     100     5/31/2019 Virginia Beach         VA        12           N
     101      8/3/2019    El Paso             TX        22           Y
     102      8/4/2019     Dayton             OH        9            Y
                        Midland and
     103     8/31/2019     Odessa             TX         7           Y

  Notes: Gun massacres are defined as high-fatality mass shootings
  resulting in 6 or more people shot to death, not including the
  perpetrators. A gun massacre was coded as involving an assault weapon
  if at least one of the firearms discharged was defined as an assault
  weapon in (1) the 1994 federal Assault Weapons Ban; (2) the statutes of
  the state where the gun massacre occurred; or (3) a legal or judicial

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  declaration issued by a state official. Incidents in gray shade are those
  incidents that occurred at a time when and in a state where legal
  restrictions on assault weapons were in effect.

  Sources: Louis Klarevas, Rampage Nation: Securing America from
  Mass Shootings (2016); Louis Klarevas, et al., The Effect of Large-
  Capacity Magazine Bans on High-Fatality Mass Shootings, 109 Am. J.
  of Pub. Health 1754 (2019), available at available at
  https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2019.305311
  (last accessed January 6, 2020); and “Past Summary Ledgers,” Gun
  Violence Archive, available at https://www.gunviolencearchive.org/past-
  tolls (last accessed January 21, 2020).




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                                EXHIBIT 4
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                       Excerpt from Rampage Nation

                                  Figure 7.2




  Source: Louis Klarevas, Rampage Nation: Securing America from Mass
  Shootings 242 (2016).
